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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

In re:
                                                                                Case No.: 18-00458
                                                                                          Chapter 7
ALFREDO HERRERA
MARIELA HERRERA

                DEBTOR                        /


                  APPLICATION FOR COMPENSATION FOR REALTOR

           NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

         Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
 paper without further notice or hearing unless a party in interest files a response within (21)
 twenty-one days from the date set forth on the attached proof of service, plus an additional
 three days for service if any party was served by U.S. Mail. If you object to the relief
 requested in this paper, you must file a response with the Clerk of the Court at 400 W.
 Washington St., Suite 5100, Orlando, Florida 32801and serve a copy on Arvind Mahendru,
 Trustee, 5703 Red Bug Lake Road #284, Winter Springs, Florida 32708 and any other
 appropriate persons within the time allowed.
        If you file and serve a response within the time permitted, the Court will either
 schedule and notify you of a hearing, or consider the response and grant or deny the relief
 requested without a hearing. If you do not file a response within the time permitted, the Court
 will consider that you do not oppose the relief requested in the paper, will proceed to consider
 the paper without further notice or hearing, and may grant the relief requested.



         Arvind Mahendru, Trustee, by and through his undersigned counsel files this Application
for Compensation for Realtor, BK Global Real Estate Services and Century 21 Carioti (the
Realtor), in the above-captioned case and in support thereof states:
1. The Court has approved the employment of the Realtor, in this case (Doc. No. 17).
2. The Realtor assisted the Trustee in negotiating a deed-in-lieu transaction whereby the
    secured creditor compensated the estate in the amount of $15,000.00 in exchange for
    receiving the deed to real property located at 4136 Crossen Dr, Orlando, Florida (“the
    Property”).
3. The Realtor, BK Global Real Estate Services, seeks fees in the amount of $4,500.00 for
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    services provided to the Estate. Pursuant to our agreement, the Realtor would have received
    2% of the sales price or $2,600.00 for negotiating the short sale approval with the lender.
    Due to structural problems, the property could not be sold and Realtor successfully obtained
    approval from the lender to sell the property in a deed in lieu transaction. The Realtor seeks
    an additional compensation of $1,900.00 for its efforts in obtaining deed in lieu transaction
    approval and a combined compensation of $4,500.00.
4. The Realtor, Century 21 Carioti, seeks fees in the amount of $1,500.00 for services provided
    to the Estate. Pursuant to our agreement, the Realtor would have received 2% of the sales
    price or $2,600.00 if the sale of the property had completed.
5. The Trustee believes that the Realtor provided a valuable service to the Estate and should be
    afforded the compensation described above.
    WHEREFORE, the Trustee respectfully requests that the Court award fees to Century 21
Carioti in the amount of $1,500.00 and BK Global Real Estate Services in the amount of
$4,500.00 for services rendered in this case and for any other relief as the Court deems just.


                                                     Respectfully submitted,

                                                      /s/ Arvind Mahendru __
                                                     Arvind Mahendru, Esq.
                                                     5703 Red Bug Lake Rd. #284
                                                     Winter Springs, FL 32708
                                                     407-504-2462

                              CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the Application for Compensation for Realtor was
served by electronic delivery to the Office of the United States Trustee on April 15, 2019.

Alfredo A Herrera, Mariela E Herrera, 3950 RUNNING WATER DRIVE, ORLANDO, FL
32829;

Walter F Benenati, Walter F Benenati, Credit Attorney PA, 2702 E. Robinson Street, Orlando,
FL 32803

United States Trustee, ustp.region21.ecf@usdoj.gov


                                                     /s/ Arvind Mahendru       __
                                                     Arvind Mahendru
